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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                             4:12CR00246-18 DPM


LLOYD HART


                                       ORDER

       On September 13, 2012, the Court entered an Order Setting Conditions of

Release (docket entry #115) which required Defendant to complete inpatient drug

treatment, followed with chemical-free living until the final resolution of all charges

in this case.

       Defendant’s Pretrial Services Officer (“PTSO”) has contacted the Court and

requested a modification of Defendant’s conditions. The PTSO indicates that

Defendant has successfully completed inpatient drug treatment.                However,

Defendant’s drug-treatment counselor has recommended that, in lieu of chemical-free

living, Defendant participate in twice-monthly treatment sessions, with drug testing.

       The Court will modify Defendant’s conditions of release to require him to

participate in drug treatment as directed by his PTSO. However, Defendant is

cautioned that, if he tests positive for drugs, chemical-free living will no longer be an
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option and he will be detained.

      IT IS SO ORDERED this 24th day of October, 2012.



                                      ____________________________________
                                      UNITED STATES MAGISTRATE JUDGE
